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                          UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Alexandria Division


  BMO HARRIS BANK N.A.,                )
                                       )
        Plaintiff,                     )
                                       )
                     v.                )          Civil Action No. 1:14-CV-1187
                                       )
  THE TRULAND GROUP, INC.,             )
                                       )
  TRULAND SYSTEM CORPORATION,          )
                                       )
  PEL-BERN ELECTRIC CORPORATION,       )
                                       )
  BLUMENTHAL KAHN                      )
  TRULAND ELECTRIC, LLC,               )
                                       )
  TECH, INC.,                          )
                                       )
  THE TRULAND GROUP                    )
  OF COMPANIES, CORP.,                 )
                                       )
  SNOWDEN RIVER CORPORATION,           )
                                       )
  TRULAND SERVICE CORPORATION,         )
                                       )
  TRULAND WALKER SEAL                  )
  TRANSPORTATION, INC.,                )
                                       )
  NORTHSIDE TRULAND                    )
  ELECTRIC, LLC,                       )
                                       )
         Defendants.                   )
  ____________________________________ )

        RECEIVER’S MOTION TO ESTABLISH WIND DOWN PROCEDURES

       COMES NOW, Raymond A. Yancey, Receiver (the “Receiver”), by his undersigned

 counsel, and makes this Motion to Approve Wind Down Procedures.
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        As set forth more fully in the accompanying Memorandum in Support of Receiver’s

 Motion to Establish Wind Down Procedures, and in order to facilitate the timely and efficient

 wind down of the Receivership Estate,1 the Receiver seeks an order 1) providing notice to all

 interested parties of the Receiver’s intent to terminate the Receivership; 2) permitting the

 Receiver to terminate a lease and abandon all books and records and other tangible property of

 Truland belonging to the Receivership Estate; and 3) granting such other and further relief as the

 Court deems just and proper.



 Dated: December 21, 2017                     Respectfully submitted,


                                               /s/ Erika L. Morabito
                                              Erika L. Morabito (VA Bar No. 44369)
                                              Brittany J. Nelson (VA Bar No. 81734)
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                                              Attorneys for Receiver Raymond A. Yancey




 1
  All capitalized terms not defined herein have the meaning ascribed to them in the
 Memorandum in Support of the Motion for Wind Down Procedures, filed concurrently herewith.
                                                 2
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                                   CERTIFICATE OF SERVICE

        I hereby certify that on December 21, 2017, I caused the foregoing to be filed with the

 Clerk of Court using the CM/ECF system, which will then send a notification of such filing

 (NEF) to all counsel of record.



                                             /s/ Erika L. Morabito
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